907 F.2d 1139Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darren Edward REID, Plaintiff-Appellant,v.W.E. CURLING, Defendant-Appellee.
    No. 90-6572.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 15, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, District Judge.  (C/A No. 90-198-R)
      Darren Edward Reid, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Darren Edward Reid seeks to appeal the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, although we grant leave to proceed in forma pauperis, we affirm on the reasoning of the district court.  Reid v. Curling, CA-90-198-R (E.D.Va. Apr. 6, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    